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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 MERCK & CO., INC.,

                    Plaintiff,

          v.                                        Civil Action No. 1:23-cv-01615-CKK

 XAVIER BECERRA, U.S. Secretary of
 Health and Human Services, et al.,

                    Defendants.


               DEFENDANTS’ NOTICE OF SUPPLEMENTAL AUTHORITY
       Defendants respectfully submit this notice of supplemental authority to inform the Court

of an April 29, 2024 Memorandum Opinion by the United States District Court for the District of

New Jersey in a pair of related cases, Bristol Myers Squibb Co. v. Becerra, et al., Case No. 23-

3335 (D.N.J) and Janssen Pharmaceuticals, Inc. v. Becerra, Case No. 23-3818 (D.N.J)

(BMS/Janssen). A copy of the decision is attached to this Notice. See Attach. A.

       Like Plaintiffs here, the plaintiffs in BMS/Janssen raised First and Fifth Amendment

challenges to the Drug Price Negotiation Program created by the Inflation Reduction Act of 2022,

Pub. L. No. 117-169. Indeed, the arguments presented by the plaintiff in BMS were substantively
identical to—and, indeed, at times nearly word-for-word copies of—the arguments presented in

this case. In a carefully reasoned opinion, the district court in BMS/Janssen rejected those

challenges, and granted summary judgment in favor of the Government on all claims.

       The district court “agree[d] with the courts in the Southern District of Ohio, [and]

Delaware, and the established case law across several circuits holding that there can be no taking

when participating in Medicare is voluntary and it reject[ed] Plaintiffs’ attempts to suggest

otherwise.” Attach. A at 18. As the court observed, “[s]elling to Medicare may be less profitable

than it was before the institution of the Program, but that does not make [manufacturers’] decision
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to participate any less voluntary,” meaning that “the Program does not result in a physical taking

nor direct appropriation of Plaintiffs’ drugs.” Id.

       Likewise, the court concluded that plaintiffs’ First Amendment claim failed because “the

Program regulates conduct, not speech, and Plaintiffs are not engaging in expressive conduct by

participating in the Program or by signing the agreements.” Id. at 24-25. And, “[h]aving

concluded that the Program is not a physical taking, that the Program does not compel Plaintiffs’

speech, and that Plaintiffs’ participation in the Program is voluntary, the Court” rejected plaintiffs’

“unconstitutional conditions doctrine” arguments, finding “‘there’s no constitutional right in

danger of being trampled.’” Id. at 25 (quoting oral argument transcript).




Dated: May 2, 2024                                 Respectfully submitted,

                                                   BRIAN M. BOYNTON
                                                   Principal Deputy Assistant Attorney General

                                                   MICHELLE R. BENNETT
                                                   Assistant Branch Director

                                                   /s/ Alexander V. Sverdlov
                                                   ALEXANDER V. SVERDLOV
                                                   CHRISTINE L. COOGLE
                                                     Trial Attorneys
                                                   STEPHEN M. PEZZI
                                                     Senior Trial Counsel
                                                   United States Department of Justice
                                                   Civil Division, Federal Programs Branch
                                                   1100 L Street, NW
                                                   Washington, DC 20005
                                                   Tel: (202) 305-8550
                                                   Email: alexander.v.sverdlov@usdoj.gov

                                                   Counsel for Defendants




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